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 2
 3                      IN THE UNITED STATES DISTRICT COURT
 4                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 5   Iconfind, Inc.,                           )
                                               )   2:11-cv-00319-GEB-JFM
 6                   Plaintiff,                )
                                               )
 7             v.                              )   ORDER RE: SETTLEMENT AND
                                               )   DISPOSITION
 8   Google, Inc.,                             )
                                               )
 9                 Defendant.                  )
     ________________________________          )
10
11              Plaintiff filed a “Notice of Settlement” on November 29, 2012,

12   in which it states: “the parties have reached a settlement in principle

13   of the above-entitled matter[, and] . . . it is anticipated that

14   dismissal papers will be filed within the next several weeks.” (ECF No.

15   110, 2:2-4.)

16              Therefore, a dispositional document shall be filed no later

17   than December    20,   2012.   See    E.D. Cal.   R.   160(b)(prescribing that

18   dispositional documents shall be filed within twenty-one days of the

19   date the notice of settlement is filed absent good cause to extend the

20   deadline). Failure to respond by this deadline may be construed as

21   consent to dismissal of this action without prejudice, and a dismissal

22   order could be filed. Id. (“A failure to file dispositional papers on

23   the date prescribed by the Court may be grounds for sanctions.”).

24              IT IS SO ORDERED.

25   Dated:   November 30, 2012
26
27                                        GARLAND E. BURRELL, JR.
                                          Senior United States District Judge
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